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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
EASTERN DISTRICT OF MISSOURI

United States of America
Vv.

DERRICK DARNELL CLARK Case No. 4:24 MJ 7039 SPM

Defendant(s)

SUPPRESSED CRIMINAL COMPLAINT

1, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of January 28, 2024 in the county of City of St.Louis in the
____ Eastern, Districtof — __—Missouri_———_, the defendant(s) violated:
Code Section Offense Description
21 U.S.C, 841,846 CT. 1- conspiracy to possess and possession with the intent to distribute a controlled
18 U.S.C. 924(c), 2 substance

CT. 2- aiding and abetting the discharge of a firearm in furtherance of a drug
trafficking crime

This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT

© Continued on the attached sheet.

/S/ Michael T. Kegel, TFO FBI

Complainant's signature

Michael T. Kegel, Task Force Officer, FBI

Printed name and title

Sworn, to, attested to, and affirmed before me via reliable electronic means pursuant to Federal Rules of Criminal Procedure 4.1 and 41.

SA
ater SPO ey d _
Juidge’s signature
St. Louis, Missouri : Honorable Shirley Padmore Mensah, U.S. Magistrate Judge

City and state:

Printed name and title
